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                                                                      USDSSDNY
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UNITED STATES DISTRICT COURT                                          ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA



         -against                                                          ORDER
                                                                        19 CR 460 (KMW)
TODD KOZEL,

                                        Defendant.
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KIMBA M. WOOD, District Judge:

        The parties are hereby ordered to inform the Court, by 4:00 p.m. on January 25, 2022,

whether the Court should order restitution to be paid to the Commonwealth of Pennsylvania

and/or Ashley Kozel; and, if so, the amount(s) each is due, and whether that restitution should be

ordered to be paid concurrently, or consecutively to restitution paid to the IRS.

         SO ORDERED.

Dated: New York, New York
       January 25, 2022


                                                           KIMBA M. WOOD
                                                      UNITED STATES DISTRICT JUDGE
